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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION


 URSULA WARDS,

         Plaintiff,

 v.                                                    CASE NO.: 8:18-cv-01291-CEH-JSS

 MEDICREDIT, INC.,

         Defendant.



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                      JOINT STIPULATION OF DISMISSAL WITH PREJUDICE


                COMES NOW the Plaintiff, Ursula Wards, and the Defendant, Medicredit, Inc.,

pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), by and through their undersigned counsel, hereby stipulate

to dismiss, with prejudice, each claim and count therein asserted by Plaintiff against the Defendant, in

the above styled action, with Plaintiff and Defendant to bear their own attorney’s fees, costs and

expenses.

      By:

        /s/ Amanda J. Allen, Esq.                           /s/ Scott A. Richards Esq.
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                                   CERTIFICATE OF SERVICE

      I certify that on January 9, 2019, a copy of the foregoing document was served on all counsel of
record via CM/ECF.



                                           s/Amanda J. Allen, Esq.
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